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                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA




 IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
 LIABILITY LITIGATION
                                                   Case No. 3:16-md-02741-VC

                                                   OBJECTION OF CATEGORY 1
 This document relates to:                         OBJECTORS’ COUNSEL TO
                                                   PLAINTIFFS’ CO-LEAD COUNSEL’S
 ALL CASES
                                                   MOTION TO SUPPLEMENT PRE-
                                                   TRIAL ORDER 12: COMMON
                                                   BENEFIT FUND ORDER TO
                                                   ESTABLISH A HOLDBACK
                                                   PERCENTAGE

                                                   Hearing date: March 3, 2021
                                                   Time: 1:00 PM


OBJECTION OF CATEGORY 1 OBJECTORS’ COUNSEL TO PLAINTIFFS’ CO-LEAD COUNSEL’S MOTION TO SUPPLEMENT
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       The undersigned counsel represent Texas and Missouri state-court plaintiffs who have

not participated in the MDL, known as “Category 1 Objectors.” Counsel for Objectors submit

this response solely to object to any effort to exercise jurisdiction over them or their clients. See

SEC v. Ross, 504 F.3d 1130, 1149-50 (9th Cir. 2007). Objectors’ lawsuits are entirely indepen-

dent of this MDL. Their cases were neither filed in this Court nor transferred into the MDL.

Objectors’ Counsel have not received MDL work product from Co-Lead Counsel (“CLC”) or the

Executive Committee (collectively “MDL Leadership”). Objectors’ Counsel have not signed

any agreement subjecting them or their clients to the jurisdiction of this Court or its orders.

Consistent with that, Objectors and their Counsel fall outside the common-benefit order, Pretrial

Order No. 12 (“PTO 12”), which this Court entered four years ago. See Dkt. 161 ¶ 4. That order

imposed common-benefit assessments on “Participating Cases,” defined as cases “pending, . . .

filed in, transferred to, or removed to” the MDL, as well as cases where “plaintiffs . . . and their

counsel . . . voluntarily submit to [the MDL] Court’s jurisdiction or agree to be bound by the

terms of [PTO 12] in return for MDL work product.” Id.

       Objectors do not understand CLC’s motion as requesting that the Court reconsider PTO

12’s scope. CLC’s motion and proposed order do not seek to amend the definition of “Partici-

pating Counsel” or “Participating Cases”—i.e., the cases and firms subject to PTO 12 (set forth

in PTO 12 ¶ 4 ). See Dkt. 12394. The motion and order request only that the Court amend ¶ 5 to

establish the size of the holdback to be imposed on Participating Counsel, id. at 16, a question

that PTO 12 had explicitly left open, see Dkt. 161 ¶ 5. Insofar as CLC’s motion invites reconsi-

deration of PTO 12 to encompass firms, like counsel for Objectors, with no connection to the

MDL, the invitation should be declined. Nearly four years ago, when this Court entered PTO 12,

it did not seek to exercise jurisdiction over plaintiffs or lawyers who did not participate in the

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MDL or who otherwise did not voluntarily submit themselves to MDL jurisdiction. The Court

should stay that course now.

                                         BACKGROUND

         Pretrial Order No. 12. On February 22, 2017, this Court issued Pretrial Order No. 12

(“PTO 12”), to create a common benefit fund to “pay and/or reimburse fees for legal services

that have been and/or will be provided by attorneys for the common benefit of Plaintiffs in MDL

2741.”    Dkt. 161 ¶ 5 (emphasis added).       Given the objective—providing compensation to

attorneys for providing benefits to “Plaintiffs in MDL 2741”—PTO 12 understandably limited

itself to “Participating Cases” and “Participating Counsel” in that MDL, i.e., cases and counsel

with the requisite connection to the MDL.

         “Participating Cases” encompasses “all cases pending, . . . filed in, transferred to, or

removed to” the MDL. Dkt. 161 ¶ 4 (emphasis added). The term also encompasses non-MDL

cases involving “plaintiffs . . . and their counsel who voluntarily submit to [the MDL] Court’s

jurisdiction or agree to be bound by the terms of [PTO 12] in return for MDL work product.” Id.

“Participating Counsel,” in turn, includes any “attorney with a Participating Case” and any

“attorneys who have cases pending now or in the future in MDL 2741.” Id. “With respect to

Participating Counsel,” PTO 12 continues, “all of their Roundup cases resolved by Monsanto

Company, or in which a judgment is entered against Monsanto Company, whether filed in state

court, or not filed, shall be considered a Participating Case.” Id.

         PTO 12 specifies who must contribute to the common-benefit fund. It provides that each

“Participating Case . . . be assessed for common benefit work and costs on a percentage of the

gross monetary recovery.” Dkt. 161 ¶ 5 (emphasis added). The Order declined to set an

assessment percentage, however, stating that the percentage “will be determined in a subsequent

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order . . . based on the specific circumstances of this litigation.” Id. PTO 12 contains no

provision for assessing cases that do not qualify as a Participating Case.

       Objectors and Their Counsel Independently Pursue Their Cases. Since this Court

entered PTO 12 in 2017, firms like the undersigned have brought and pursued Roundup claims

against Monsanto in state courts across the country. Counsel for Objectors have not represented

any party in this MDL. They have not received MDL work product. And they have neither

voluntarily submitted to MDL jurisdiction nor agreed to be subjected to PTO 12—whether “in

return for MDL work product” or otherwise. Dkt. 161 ¶ 4; see Lowe Decl. ¶¶ 4-6; Garrison Decl.

¶¶ 3-4; Lanier Decl. ¶¶ 3-6; Glitz Decl. ¶¶ 3-6; Watts Decl. ¶¶ 3-6. Objectors’ Counsel thus do

not qualify as “Participating Counsel” within the meaning of PTO 12.

       The Current Motion. On January 14, 2021, CLC filed a motion to supplement PTO 12.

Dkt. 12394 (“Mot.”). Its motion asks this Court to address the question that PTO 12 left open:

the size of the assessment percentage to be imposed on recoveries in Participating Cases. See,

e.g., Mot. 8. CLC requests that the Court impose “a holdback of eight and one-quarter percent

(8.25%) on all prospective gross monetary recoveries from all plaintiffs and attorneys, as defined

by PTO 12, Paragraph 4.” Id.; see also id. at 16. Consistent with that request, the proposed

order accompanying CLC’s motion states that it “supplements and supersedes only Paragraph 5

of PTO 12,” Dkt. 12394-26 at 2—the section of PTO 12 concerning the size of the assessment

percentage. CLC’s motion does not ask the Court to reconsider any other aspect of PTO 12. It

does not ask the Court to revisit the scope of the order (PTO 12 ¶ 4). Nor does it urge the Court

to expand the definitions of “Participating Counsel” and “Participating Case” in PTO 12 ¶ 4.

       Although CLC confines its request to the size of the assessment percentage under ¶ 5 of

PTO 12, its motion has loose language. For example, although not supported by the relief it

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requests or its proposed order, CLC asserts that the “proposed holdback extends to the efforts of

the MDL Leadership, other attorneys who performed substantive work in the MDL or state cases

that benefitted and continue to benefit all plaintiffs in actions within and outside the MDL.”

Mot. 13-14 (emphasis added). In describing the scope of the holdback, moreover, CLC’s papers

do not use the defined terms this Court employed in PTO 12—“Participating Counsel” and

“Participating Cases.” Instead, CLC say “all plaintiffs and attorneys, as defined by Pretrial

Order No. 12, Paragraph 4.” E.g., id. at 16.

       This Court’s Order. On January 26, 2021, this Court entered an Order setting deadlines

for and asking objectors to address whether (among other things) the Court should “consider

anew the universe of cases that should be subject to a hold-back.” Dkt. 12463. Given that

request, the undersigned submit this opposition for the sole purpose of objecting to jurisdiction.

Absent jurisdiction, they cannot be subject to any holdback assessment the Court imposes.

                                         ARGUMENT

       The general rule is that courts cannot bind—they cannot impose obligations on or

regulate—non-parties and others who are beyond their jurisdiction. Provident Tradesmens Bank

& Tr. Co. v. Patterson, 390 U.S. 102, 110 (1968); see also Class Plaintiffs v. City of Seattle, 955

F.2d 1268, 1277 (9th Cir. 1992) (“ ‘It is elementary that one is not bound by a judgment in

personam resulting from litigation in which he is not designated as a party.’ ”). That rule applies

in MDLs as well. “As in any other case, a transferee court’s jurisdiction . . . is limited to cases

and controversies between persons who are properly parties to the cases transferred, and any

attempt . . . to reach others who are unrelated is beyond the court’s power.” In re Showa Denko

K.K. L-Tryptophan Prods. Liab. Litig.-II, 953 F.2d 162, 165-66 (4th Cir. 1992).



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       For that reason, “[f ]ees may not be imposed by a transferee judge on attorneys with no

cases in the MDL and who do not use federal discovery material.” Barbara J. Rothstein &

Catherine R. Borden, Managing Multidistrict Litigation in Products Liability Cases 14-15 (Fed.

Jud. Ctr. 2011) (emphasis added); see Coordinating Multijurisdiction Litigation 7 (Fed. Jud. Ctr.

2013) (same). “[D]istrict courts operating pursuant to their multi-district litigation powers do

‘not have jurisdiction to order holdbacks from state-court plaintiffs’ recoveries’ absent some

‘independent basis for jurisdiction over these state-court actions.’ ” In re Lidoderm Antitrust

Litig., No. 14-md-02521, 2017 WL 3478810, at *3 (N.D. Cal. Aug. 14, 2017) (emphasis added).

       Consistent with that, this Court’s PTO 12 set forth a boundary for the payment

obligations it imposes. It limits the requirement to pay a “Common Benefit assessment percen-

tage” to “Participating Cases” and “Participating Counsel.” See Dkt. 161 ¶ 5. Those terms are

carefully defined to exclude firms like the undersigned—counsel who have represented clients

only in state court, independently from the MDL, and without MDL support. CLC have not

asked this Court to reconsider the scope of that definition in PTO 12, much less asked the Court

to extend it beyond the jurisdictional limits that PTO 12 scrupulously observes. That alone

weighs against doing so. See 56 Am. Jur. 2d Motions, Rules & Orders § 30.

       Objectors’ cases fall outside PTO 12 and outside the scope of the Court’s jurisdiction,

consistent with the above-cited authorities.     The undersigned Counsel for Objectors have

participated only in state proceedings. They never acquiesced to this Court’s jurisdiction over

their clients’ recoveries. And they have received no MDL discovery or work product. See p. 3,

supra. Nor have they signed any participation agreement. See p. 3, supra; cf. In re Avandia

Mktg., Sales Pracs. & Prods. Liab. Litig., 617 F. App’x 136, 143 (3d Cir. 2015) (holding that a

court may exercise jurisdiction over an attorney who signs a participation agreement that is later

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incorporated into a court order). While this Court has authority to decide whether it has

jurisdiction, its MDL jurisdiction simply does not extend to non-parties who have not sought and

received benefits from the MDL or signed a participation agreement.

       Ninth Circuit precedent makes that conclusion inescapable. For example, Hartland v.

Alaska Airlines involved an MDL proceeding in this District. 544 F.2d 992, 994 (9th Cir. 1976).

The transferee court “mistakenly” issued an order that implicitly assumed it had jurisdiction over

various state-court cases that, in fact, had not been transferred to the Northern District of

California; nor was there a stipulation to jurisdiction. Id. at 995. The court then ordered “ ‘[a]ll

parties plaintiff ’ ” to contribute to a common fund for liaison counsel’s common-benefit costs, in

effect, requiring parties who had never been properly subject to the transferee court’s jurisdiction

to contribute to the common fund. Id. at 996-97, 999. The Ninth Circuit granted mandamus

relief, holding that the district court’s actions were “beyond its jurisdiction” and a “usurpation of

power.” Id. at 1001. The Ninth Circuit applied those same principles a year later in Vincent v.

Hughes Air West, Inc., holding that a district court could not require nonparties to a lawsuit to

deposit portions of their settlements with the court. 557 F.2d 759, 765-66 (9th Cir. 1977).

       In In re Genetically Modified Rice Litigation, the Eighth Circuit went a step further. In

that case, lead counsel argued that, because the district court had jurisdiction over MDL attor-

neys, it could assess fees from state-court recoveries of state-court clients represented by MDL

attorneys. 764 F.3d 864, 874 (8th Cir. 2014). In other words, counsel contended, the fact that cer-

tain attorneys had some cases in the MDL meant that the district court could assess fees on cases

outside the MDL being handled by those same attorneys. Id. The Eighth Circuit disagreed,

concluding the “state-court cases, related or not, [were] not before the district court.” Id. “Even

if the state plaintiffs’ attorneys participated in the MDL, the district court overseeing the MDL

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d[id] not have authority over separate disputes between state-court plaintiffs and” the defendant.

Id. As a result, the district court could not require state-court plaintiffs to pay an assessment

toward the MDL common-benefit fund. Id. It follows a fortiori that there can be no jurisdiction

over the undersigned Objectors’ Counsel, who represent no parties in any cases in the MDL.

       Other courts have reached the same, or similar, conclusions. In Showa Denko, the Fourth

Circuit held that “plaintiffs in state and untransferred federal cases have not voluntarily entered

the litigation before the” MDL court. 953 F.2d at 166. As a result, the MDL court “simply ha[d]

no power to extend the obligations” of its common-benefit order to those plaintiffs. Id. And in

Avandia, the Third Circuit observed that a district court “would have exceeded its jurisdiction” in

ordering “total strangers to the litigation” to contribute to the common-benefit fund.         617

F. App’x at 141.     Indeed, “many transferee judges” have “conclud[ed] that they lack the

authority to order state plaintiffs and their counsel to contribute to” a common benefit fund.

Guidelines and Best Practices for Large and Mass-Tort MDLs 69 (Duke L. Sch. Bolsch Jud.

Inst. 2d ed. 2018), https://bit.ly/3rzD7Vx.1

       Given that precedent, it is unsurprising that CLC has not explicitly asked the Court to

reconsider PTO 12’s scope. CLC identifies no reason to press, much less exceed, jurisdictional

boundaries. Indeed, CLC identifies no authority whatsoever for MDL courts to require fee

assessments from plaintiffs in actions “outside the MDL.” Mot. 13-14. It cites numerous cases

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 District court decisions refusing to impose fee assessments or holdbacks on parties outside an
MDL abound. See In re Syngenta AG MIR 162 Corn Litig., No. 14-md-2591, 2015 WL
2165341, at *2-4 (D. Kan. May 8, 2015); In re FedEx Ground Package Sys., Inc., Emp. Pracs.
Litig., No. 05-md-527, 2011 WL 611883, at *3 (N.D. Ind. Feb. 11, 2011); In re OSB Antitrust
Litig., No. 06-cv-826, 2009 WL 579376, at *3 (E.D. Pa. Mar. 4, 2009); In re Baycol Prods.
Litig., MDL No. 1431, 2004 WL 1058105, at *3 (D. Minn. May 3, 2004); cf. In re Linerboard
Antitrust Litig., 292 F. Supp. 2d 644, 664 (E.D. Pa. 2003) (finding no jurisdiction to assess fees
against opt-outs from class action).

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in support of various propositions. Mot. 3-10, 14-15. But not one of those cases holds that an

MDL court has jurisdiction to impose fee assessments on cases and counsel with no connection

to the MDL.2 Likewise, not one case identified in CLC’s exhibits—24 examples of MDL orders

permitting holdbacks, see Dkt. 12394-1 ¶¶ 2-26 (identifying exhibits)—authorizes a holdback

from a state-court case in which the parties and counsel have received no MDL work product.

Many of the cited orders expressly forbid that result. See, e.g., Dkt. 12394-5 at 4-5; Dkt. 12394-

15 at 2; Dkt. 12394-24 at 6.

       The jurisdictional boundary in those cases comports with common sense. As CLC notes,

the common-benefit doctrine spreads the costs of litigation “among all of the beneficiaries of the

fund”—a rule designed to prevent “free-riding.” Mot. 8 (emphasis added). The Ninth Circuit

thus permits district courts to collect assessments for the purpose of spreading costs “among the

recipients of the common benefit.” Wininger v. SI Mgmt. L.P., 301 F.3d 1115, 1120-21 (9th Cir.



2
  Many of the cases CLC cites do not even address the question of jurisdiction. See, e.g., Boeing
Co. v. Van Gemert, 444 U.S. 472 (1980); Chambers v. NASCO, Inc., 501 U.S. 32 (1991); In re
Worldcom, Inc. Secs. Litig., No. 02-cv-3288, 2004 WL 2549682 (S.D.N.Y. Nov. 10, 2004). In
some, such as In re Air Crash Disaster at Florida Everglades, 549 F.2d 1006 (5th Cir. 1977), the
court specifically did not consider “the authority of the district court to assess a fee in cases not
formally before it.” Id. at 1010 n.5; see also, e.g., In re Zyprexa Prods. Liab. Litig., 467 F. Supp.
2d 256, 268-69 (E.D.N.Y. 2006) (similar). In other cases, the courts explicitly concluded that
they lacked jurisdiction to assess fees from parties in state court, see, e.g., In re Genetically
Modified Rice Litig., No. 06-md-1811, 2010 WL 716190, at *4-5 (E.D. Mo. Feb. 24, 2010), or
only did so if the state-court lawyers had signed a participation agreement or received a payout
from a global settlement, see, e.g., In re Pradaxa (Dabigatran Etexilate) Prod. Liab. Litig., MDL
No. 2385, Case Management Order No. 16 at 3, 4 (ECF No. 61) (S.D. Ill. Nov. 13, 2012) (as-
sessing fees where attorneys signed participation agreement); In re Guidant Corp. Implantable
Defibrillators Prods. Liab. Litig., MDL No. 05-1708, 2008 WL 682174, at *13 (D. Minn. Mar.
7, 2008) (assessing fees where attorneys participated in global settlement). Cases not cited by
CLC have reached similar conclusions. See, e.g., Avandia, 617 F. App’x at 141-42 (concluding
MDL court could assess fees in state-court cases only because state-court attorneys had signed a
participation agreement and the district court had incorporated that agreement into its order); pp.
6-7 & n.1, supra.

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2002) (emphasis added); see B.P. N. Am. Trading, Inc. v. Vessel Panamax Nova, 784 F.2d 975,

977 (9th Cir. 1986) (similar). But the undersigned Objectors’ Counsel and their clients are not

beneficiaries of that common benefit. They are not “ ‘unjustly enriched’ ” at CLC’s expense,

Mot. 9, because they did not receive or use MDL work product and because MDL Leadership

did not assist them in pursuing Monsanto. MDL Leadership did not even secure a global

resolution of the Roundup claims. Counsel for Objectors thus must litigate against Monsanto or

negotiate their own settlements with Monsanto. See Lowe Decl. ¶ 8; Garrison Decl. ¶ 4; Lanier

Decl. ¶ 8; Glitz Decl. ¶ 7; Watts Decl. ¶ 8.

        To the extent that legal victories claimed by CLC provide useful precedent, that alone

does not create jurisdiction where none otherwise exists. And it is no basis for imposing an

assessment on attorneys and plaintiffs not before the Court. “[E]quity is insufficient to overcome

limitations on federal jurisdiction.” Genetically Modified Rice, 764 F.3d at 874. If CLC believes

it is entitled to compensation from state-court cases on account of its efforts, it is free to seek

those fees in the state courts itself.3

        Adherence to the jurisdictional boundaries that PTO 12 seeks to respect makes particular

sense here. CLC itself drafted and proposed the definitions of “Participating Counsel” and

“Participating Cases” in PTO 12. Compare Dkt. 74-3 ¶ 4, with Dkt. 161 ¶ 4. For years, the

Objectors’ Counsel relied on the text of PTO 12 and those definitions to guide their own

decisions about how to proceed against Monsanto, whether to seek and accept MDL work

3
  See In re Gen. Motors LLC Ignition Switch Litig., 477 F. Supp. 3d 170, 180 (S.D.N.Y. 2020)
(“If a case is pending in state court, that court can solve the free-rider problem by imposing an
assessment on any recovery.”); see also Zyprexa, 467 F. Supp. 2d at 268-69 (similar). But
CLC’s efforts in state court are no basis for conferring federal jurisdiction over other litigants in
those state-court actions. Cf. Walden v. Fiore, 571 U.S. 277, 285-86 (2014) (plaintiffs’ contacts
with forum State insufficient to confer jurisdiction over defendant).

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product, and how much to invest in pursuit of their claims. In light of those reliance interests,

this Court should “follow [its] earlier order[ ]” in this case and “be reluctant to change [the]

decision[ ] already made” in PTO 12 ¶ 4. Ridgeway v. Mont. High School Ass’n, 858 F.2d 579,

587 (9th Cir. 1988). That is particularly true here, where no party filed a motion urging the

Court to traverse jurisdictional boundaries—much less a motion that addresses intervening

reliance interests. Any other course threatens “intolerable instability,” id., including further

litigation and potential appeals that could delay final resolution. English v. Apple Inc., No. 14-

cv-1619, 2016 WL 1108929, at *2 (N.D. Cal. Mar. 22, 2016) (invoking “the interests of finality

and conservation of judicial resources.’ ”); De La Torre v. CashCall, Inc., 56 F. Supp. 3d 1105,

1107 (N.D. Cal. 2014) (same).

Dated: February 4, 2021                           Respectfully submitted,

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